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                    AFFIDAVIT IN SUPPORT OF
 AN APPLICATION FOR CRIMINAL COMPLAINTS AND ARREST WARRANTS

      I, Jodie L. Donaghy with the Department of Homeland Security, Homeland

Security Investigations (“HSI”), being first duly sworn, hereby depose and state as

follows:

                   INTRODUCTION AND AGENT BACKGROUND

      1. I am a Special Agent with the United States Department of Homeland

           Security, Homeland Security Investigations (“HSI”), and am authorized to

           conduct investigations and make arrests for offenses enumerated in Titles 8,

           18, and 19 of the United States Code and to execute warrants issued under the

           authority of the United States. I have been employed by HSI since February

           2007. I am currently assigned to conduct investigations in the Resident Agent

           in Charge (RAC) Providence Office of HSI. I have prepared numerous

           affidavits in support of applications for federal search and arrest warrants.


      2. I make this affidavit in support of applications for criminal complaint and

           arrest warrants for the following individuals, collectively referred to as the

           SUBJECTS:


           a) OWEN DEMOY BYFIELD (“BYFIELD”), age 31, a citizen of Jamaica and

              resident of the state of Georgia.

           b) PATRICK DALLAS, (“DALLAS”) age 36, a citizen of Jamaica and resident

              of the State of Georgia. DALLAS is the owner of Supreme Auto LLC

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             (“Supreme Automotive”) and Cookshop Jamaican Restaurant LLC

             (“Cookshop”), two entities used to receive and launder fraud proceeds as

             described below. DALLAS recently pled guilty in the Eastern District of

             New York to Fraud in Foreign Labor Contracting in violation of 18 U.S.C.

             § 1351, case number 19-CR-363-JMA-AYS (EDNY). DALLAS is awaiting

             sentencing in that matter, currently scheduled for September 10, 2024.

           c) STACEY ROBINSON, (“ROBINSON”) age 28, a citizen of Jamaica and

             resident of the state of Georgia. ROBINSON is the owner of Robz

             Trucking LLC (“Robz Trucking”) an entity used to receive and launder

             fraud proceeds as described below. ROBINSON’s LinkedIn profile

             describes her as an experienced mid-level banker with 4+ years of

             expertise in banking, fraud & financial planning, originating loans,

             mortgages, and HELOC. The LinkedIn profile listed her as being

             employed as an Associate Banker at JPMorgan Chase & Co., a former

             Relationship Banker / Universal Banker at Truist Bank, and a former

             Teller / Lead Teller at Wells Fargo Bank through March 2024.

As described herein, there is probable cause the above-named subjects have committed

conspiracy to commit mail and wire fraud in violation of 18 U.S.C. § 1349 and conspir-

acy to commit money laundering in violation of 18 U.S.C. § 1956(h).

      3.     The facts in this affidavit come from my participation in this investigation,

including my personal observations and review of relevant records related to this

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investigation, my training and experience, and information obtained from other agents,

local law enforcement officers in various jurisdictions, and witnesses involved in this

investigation, including in particular HSI Task Force Officer (TFO) Matthew Smith, a

Detective with the Warwick Police Department (WPD). Detective Smith is a 10-year

veteran in law enforcement within the State of Rhode Island. He has been continuously

employed with the WPD for the past 10 years and has been assigned to HSI as a TFO

since in or about June of 2019. In submitting this affidavit, I have not included every

fact known to me about this investigation. Rather, I have included only those facts that

I believe are sufficient to establish probable cause for the requested complaints and

warrants.

                                             PROBABLE CAUSE

        4.       As will be described in more detail throughout this affidavit, there is

probable cause to believe the SUBJECTS and others known and unknown conspired to

defraud numerous individuals through a bogus “Publishers Clearing House” (“PCH”)

scam and then laundered the proceeds through entities controlled by the SUBJECTS.1

In general, fraud victims were duped into believing they won a PCH lottery but could

only collect their winnings by paying some form of upfront fee or tax. Recipients are

then typically instructed to provide personal identifying information (PII) to verify that

they are the winner of the lottery or sweepstakes. Victims were directed to send money




1
  In addition to the PCH scam, the investigation has identified proceeds of other fraud schemes being laundered
through the SUBJECTS’ entities which are not detailed herein.
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or high value items such as watches and gift cards to money mules and/or entities

controlled by the SUBJECTS. These entities include Supreme Automotive, Cookshop,

and Robz Trucking. In addition, fraud victims were frequently directed to address

parcels containing fraud proceeds to “Susan Quinn,” which is a fictitious name used by

co-conspirators and not an actual person at any of the addresses identified in this

investigation. Upon receipt of the fraud proceeds, the SUBJECTS caused financial

transactions to be conducted in order to conceal the nature, location, source, ownership,

and control of the fraud proceeds, including cash withdrawals, transfers, the purchase

of real property, mortgage and rental payments, and other consumer spending.

                           Bogus Publishers Clearing House Scam

       5.     Publishers Clearing House (PCH) is a company that offers consumers the

opportunity to enter sweepstakes and to win prizes. Since its inception, PCH has stated

that no purchase, fee, cost, or payment is necessary to enter or win.

       6.     PCH has received reports from consumers and consumer protection

authorities of illegal and fraudulent offers by scam artists using the phone, mail or

internet seeking some form of payment from consumers to collect a non-existent prize.

In many cases, the PCH name or sound-alike name is illegitimately used. Using a

variety of false representations including “prepayment of taxes”, “refundable deposits,”

and “shipping and handling,” scam artists perpetrating these frauds seek to have

consumers forward money.

       7.     Lottery or sweepstakes scams, such as those that fraudulently utilize the


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PCH name, can involve a call, email, or a mailing informing a recipient that they have

won a sweepstakes, lottery, or prize. Lottery or sweepstakes scams often include the use

of logos of legitimate companies such as PCH, and the fraudulent use of law

enforcement or government agencies such as the Federal Bureau of Investigations (FBI),

the United States Marshals Service (USMS) and the Internal Revenue Service (IRS) to

assist with the delivery of the supposed prize.

         8.       To date, the investigation has identified several known victims of the PCH

scam and several others who are potential but unconfirmed victims, summarized

below.

                                       Known Victims of PCH Scam

                                          Victim R.B. - Warwick, RI

         9.       In or about February of 2023, WPD responded to a Publishers Clearing

House fraud complaint by a 77-year-old victim who resides in Warwick, RI. The victim

reported being scammed for a large sum of money, and that an unidentified individual

would be responding to their address to receive a check from the victim.

         10.      Upon arrival, an officer met with the victim, identified in this affidavit as

R.B.2 and his wife, M.S. R.B. informed the officer that on or about January 23, 2023, he

received a package in the mail from a company, described as Publishers Clearing House

(PCH) of 101 Winners Circle Port, Washington, NYC 11213. In this package were



2
 The victim from Warwick, RI has been identified by his or her initials. Additional victims identified in this case
have also been identified by his or her initials in this affidavit. Throughout this affidavit, victim’s names and ad-
dresses and other identifying information have been redacted to protect the privacy of the victims.
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documents, stating that he had been randomly entered into a raffle, and had

subsequently won $17,500,000.00.

       11.    R.B. turned over documents that showed R.B. received a United States

Postal Service (USPS) letter and a United Parcel Service (UPS) Parcel. The USPS letter

R.B. received was postmarked from Santa Clarita, CA on December 21, 2022. This letter

was addressed to R.B. and mailed to his residence. It also appears that the USPS

envelope contained a PCH letter dated December 15, 2022, based on the way in which

the PCH letter was folded. Please see the below photographs documenting the USPS

letter R.B. received.




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                                    .

    The UPS package R.B. received was a UPS Express Parcel, identified by UPS Tracking

    1Z05326W1504837144. This parcel was shipped on January 30, 2023, from the UPS

    Store at 2870 Peach Tree Rd NW, Atlanta, GA 30305, but was labeled with return

    address “Lloyd Henry, (646) 256-1324, 101 Winners Circle, Jericho, NY 117533.” It

    appears that the PCH Official Ruling Documents were contained in the UPS Express

    Parcel based on the appearance of the documents. The documents were flat and not

    folded. Please see the below photographs documenting the UPS parcel and one page

    of the PCH Official Ruling Documents that R.B. received. Based on the originating

    location of this package and its proximity to the location of subjects DALLAS,

    BYFIELD and ROBINSON in the Peachtree Road area of Atlanta, in conjunction with



3
  A Google.com search of 101 Winners Circle, Jericho, NY 11753 reveals that this address was the address for Pub-
lishers Clearing House, but as noted the package was mailed from Peach Tree Road in Atlanta, GA.
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  the other facts and circumstances of this investigation, it appears that one or more of

  the co-conspirator SUBJECTS, DALLAS, BYFIELD, and/or ROBINSON, caused this

  package to be sent to R.B.




       12.    Upon receiving those documents, R.B. immediately called the prize

representative listed, "Lloyd HENRY," at (877) 738-5290, ext. 2. R.B. reported that once

he contacted HENRY of PCH, he was also contacted multiple times by “John HOOBER”


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at (800) 519-2588, ext. 101. R.B. reported that HOOBER4 instructed him to complete a

wire transfer in the amount of $100,000.00 to Supreme Automotive located at 2980

Metropolitan Pkwy, Atlanta, GA 30315.

       13.    R.B. reported that he conducted the wire transfer in the amount of

$100,000.00 from his Citizens Bank account and the funds were deposited into Navy

Federal Credit Union (NFCU) account number ending in 1350 (hereinafter the

“Supreme Automotive 1350 account”).

       14.    R.B. reported that HENRY informed him that before he collected the

winning check, he needed to purchase watches and send them to a predetermined

recipient.

       15.    On January 27, 2023, at approximately 4:27 pm, R.B. went to Ross-Sim-

mons located at 136 Lambert Lind Highway in Warwick RI, to purchase the watches re-

quested by HENRY. R.B. purchased one (1) Rolex watch for $15,996.50, and one (1)

Rolex watch for $14,445.00. On January 27, 2023, R.B. shipped those watches to "Susan

Quinn" at 2171 Peachtree Rd, Apt #1702, Atlanta GA, 30309 (hereinafter “2171

Peachtree”) via UPS utilizing next-day service as instructed (Tracking Number

1Z016X80PA08949556).

       16.    On January 31, 2023, at 3:53 pm, R.B. responded back to Ross-Simmons to

purchase one (1) Rolex watch for $12,305.00. The total value of the three (3) purchased



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 Based on this investigation, I believe “Lloyd Henry,” “John Hoober,” “Michael Ford” and “Su-
san Quinn,” among others, are fictitious names used by coconspirators as part of the fraud and
money laundering scheme.
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 watches is $42,746.00. On January 31, 2023, R.B. also shipped that watch to "Susan

 Quinn" at 2171 Peachtree via UPS utilizing next-day service as instructed.

       17.    An IP Address associated with ROBINSON at 2171 Peachtree queried UPS

 package (1Z016X80PA08949556) twice on January 28, 2023. This same IP Address also

 queried UPS package (1Z016X80NW09020858) five (5) times between January 31, 2023,

 and February 1, 2023.

       18.    Following the wire transfer for HOOBER, HENRY contacted R.B. again.

 HENRY requested R.B. send handwritten checks to predetermined recipients. HENRY

 requested two (2) checks be written and sent out to a “Harold Boleski”, one (1) check be

 sent out to a “Martina Cunningham”, and one (1) check be sent out to a “Martina

 Shepard”. HENRY requested R.B. to mail the checks via FedEx Priority Overnight to

 178 E. Peter St. Apt. 7, Cochran, GA 31014. Each check was written for $30,000.00,

 totaling $120,000.00 and the Memo was listed as “Family”.

       19.    R.B. wrote the checks and went to a FedEx location to send out the

 completed checks. A FedEx employee informed R.B. that they strongly believed this

 was a scam, and requested he contact the Warwick Police Department. This employee

 then informed R.B. to leave without accepting the checks. The photo below represents

 the (4) checks that R.B. was instructed to handwrite.




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       20.    R.B. informed the WPD officer that on the morning of on or about

 February 7, 2023, HOOBER contacted R.B. via telephone and stated he would be

 responding to R.B.'s home on this date in the afternoon to take a picture with him.

 When the WPD officer asked what the picture was for, R.B. was unsure of the reasoning

 for it. R.B. then stated following the phone call with HOOBER, he contacted HENRY via

 telephone. R.B. informed HENRY that he had sent $100,000.00 to HOOBER, which

 upset HENRY. HENRY was angered by the fact he had sent this money without

 consulting him first, and that he (HENRY), had plans to respond to R.B.'s home on

 February 10, 2023, to present him with the $17,500,000.00 check. HENRY stated he

 would no longer be responding to R.B.’s residence. R.B. was unable to get back into

 touch with both HENRY and HOOBER following the phone calls. At this time, R.B.

 contacted the WPD.

       21.    The WPD officer attempted to contact the number provided for Lloyd

 HENRY, a male answered the phone, and stated his name was Lloyd HENRY. When

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 the officer identified himself as a WPD Officer, the phone call immediately discon-

 nected. The officer attempted to call back several times, however, he was sent directly to

 voicemail. The officer also attempted to contact John HOOBER via telephone, however,

 after several attempts, no one answered the call.

                                  Victim B.M. – White Plains, N.Y.

       22.    On October 12, 2022, a White Plains Police Department (WPPD) (NY) Of-

 ficer responded to a residence in Whites Plains, NY for the report of a lottery scam. The

 officer met with detectives from the Westchester County NY District Attorney’s Office.

 The WPPD officer learned from the detectives that the complainant, B.M., was the vic-

 tim of a scam.

       23.    In June of 2022, B.M. received a check in the mail from PCH in the amount

 of $5,500,000.00. B.M. reported that she was then contacted by an unknown male who

 identified himself as “Michael FORD”. B.M. reported that she told “Ford” that she did

 not wish to receive the money and would like to be removed from the lottery list.

       24.    B.M. reported that “FORD” informed her that in order to be removed

 from the lottery list, she would have to send in a payment. B.M. reported that “FORD”

 informed her that he would send her a cell phone that he would then use to contact her

 about the payment. B.M. reported that a cell phone was left outside of her apartment

 door by an unknown male named “James DALTON.” B.M. reported that she was later

 contacted by “James DALTON” from telephone number (949) 696-3773.

       25.    B.M. reported that she had responded to Wells Fargo and obtained a


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 cashier’s check in the amount of $27,925.00. B.M. was instructed to mail the cashier’s

 check to “Margaret Smith.” B.M. reported that she attempted to initiate a wire transfer

 at Wells Fargo for $150,000.00, however the transaction was declined by the branch

 manager. A copy of records provided by B.M. included a “customer copy” of a Wells

 Fargo wire transfer from B.M. to Supreme Automotive LLC in the amount of $150,000

 on August 18, 2022. Included with the “customer copy” were handwritten notes by

 B.M. which stated, “Supreme Automated (sic) Wire transfer from my WF cking acct to

 Supreme Automoti (sic) $250,000 Patrick Dallas is a family member and sending

 money for business project.” Also included in B.M.’s notes were a document that

 contained handwritten notes which stated, among other things, “name of other person

 talking to Lloyd Henry Federal Reserve” and “Michael Ford.” I believe these notes

 reflect information B.M. was told by coconspirators while speaking with them over the

 phone. Also included in B.M.’s notes, were, among other things a notation to send three

 checks payable to “Vibe Lifestyle Boutique” and mail them to “Michael Ford” at an

 address on Barone Ave in Atlanta GA. This is the same address to which another

 victim, J.C., was directed to send Rolex Watches. This is also the same address to which

 yet another victim, P.G., was directed to send cashier’s checks. Also, on B.M.’s notes

 are “Stacey Robinson” and “Demoy Byfield” in multiple places.

       26.    B.M. reported that that she had emptied one of her bank accounts held

 with Berkshire Bank. B.M. reported that she had removed approximately $333,867.00

 from that account and was instructed by “James DALTON” to open a TD Bank account

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 and deposit those funds into the newly created account. B.M. reported that she did

 open an account with TD Bank and did deposit $333,867.00 into that account.

       27.    B.M. reported that she was then instructed to conduct a wire transfer in

 the amount of $200,000.00 to Supreme Automotive LLC account ending in 2485 to

 Patrick DALLAS of 1000 Peachtree Park Dr. #27, Atlanta GA. Records obtained from

 B.M. show handwritten notes which state in part “wire transfer $200,000 goes to

 Supreme Automotive LLC family business car company 2980 Metropolitan Parkway

 Southwest, Atlanta, GA 30315. Owner Patrick Dallas” as well as bank account

 information. Records obtained from Truist Bank for Supreme Automotive confirm this

 wire transfer was received on September 27, 2022.

       28.    B.M. provided numerous documents, notes, and shipping labels relative

 to the reported fraud. Of those documents, a UPS Shipment Receipt was provided for

 Tracking Number 1ZR682320151815702. The shipment date was August 17, 2022. The

 parcel was shipped from B.M.’s residence in White Plains, NY to “Michael Ford” of

 1000 Barone Avenue Apt. 8506, Atlanta GA 30309.




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         29.      In addition, investigators identified a deposit that occurred on August 18,

 2022, for $46,300.00 into the Navy Federal Credit Union Robz Trucking account ending

 in 7795, (hereafter referred to as Robz Trucking 7795 account.) This deposit was in the

 form of a check from Berkshire Bank which listed the remitter as B.M. This check was

 made payable to ROBINSON. A review of the NFCU records associated with Robz

 Trucking indicated that the check was deposited on August 18, 2022. On August 23,

 2022, the check was returned, and a $15 returned check fee was charged to Robz

 Trucking 7795 account.

         30.      On July 31, 2024, your affiant spoke to NFCU5, and learned that Berkshire

 Bank issued a stop payment on BM’s check. Please see below image of B.M.’s check.



 5
   Navy Federal Credit Union stated that when an “Adjustment – DR” transaction detail is observed on a statement
 and accompanied by another “Adjustment – DR” transaction detail in the amount of $15.00 or $20.00, the financial
 institution of the person who made out the check has stopped payment on the check. The “Adjustment – DR” of
 $15.00 or $20.00 is the fee charged to the account holder for the returned check.
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       31. Investigators identified another deposit into the Robz Trucking 1434

  account that occurred on February 6, 2023. This deposit of a $70,000 check was made

  payable to Robz Trucking LLC from M&T Bank and listed B.M. as the remitter. This

  check was dated on February 3, 2023. See below image.




       32.    NFCU video surveillance footage of February 6, 2023, revealed that

 ROBINSON deposited the $70,000.00 check that was issued by B.M. Video surveillance

 footage revealed that ROBINSON was alone at the time of the transaction. Below are

 two still images from the video of ROBINSON depositing the $70,000 check.



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            33. Investigators reviewed the financial records following the deposit of the

     $70,000 from B.M on February 6, 2023. On February 6, 2023, $200 was transferred from

     the Robz Trucking 1434 account to a NFCU account in ROBINSON’s name. On

     February 13, 2023, a $63,000 wire transfer was sent the from Robz Trucking 1434

     account to a Bank of America account 7917 in D.G.’s name6. On February 13, 2023,

     $1,900 was transferred from Robz Trucking 1434 account to a NFCU account in

     ROBINSON’s name. Lastly, on February 13, 2023, $4800.97 was transferred from Robz

     Trucking 1434 account to a NFCU account in ROBINSON’s name. The Robz Trucking

     1434 account was also charged a wire transfer fee of $14.00.

                                              Victim J.C. - Hampton Bays, NY

            34.       A review of the financial activity within BYFIELD’s Bank of America

 account ending in 5307, (hereinafter referred to as Bank of America 5307 account)



 6
     As described later in the affidavit, I believe D.G. is Byfield’s mother, or otherwise related to him.
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 revealed that between April 24, 2023, and May 11, 2023, J.C. of Hampton Bays, NY, sent

 three (3) wire transfers totaling $63,000.00 to BYFIELD.

         35.     On October 23, 2023, J.C. reported to the Southampton Town Police

 Department STPD (NY) that in April 2023, he received a letter from who he believed to

 be PCH informing him that he had won $17,500,000.00. J.C. reported that after receiving

 that letter, over a period of several months, he was convinced to send approximately

 $45,000.00 in wire transfers, a $14,800.00 Rolex watch, and three Apple iPhones valued

 at $1,300.00 each, to subjects claiming to be from PCH.

         36.     J.C. reported that he also received several checks in the mail from who he

 believed to be PCH, however he reported that he was unsuccessful in cashing those

 checks. J.C. reported also having provided his personal information (PII) and reported

 that he received a credit card in his name from who he believed to be PCH. J.C. reported

 that he was instructed to utilize that credit card and reported that he did so to purchase

 the previously mentioned Rolex watch.

         37.     J.C. reported that he mailed the Rolex watch via UPS to “Anthony Green”

 at 10001 Barone Avenue, Apt. 8506, Atlanta, GA 303297. J.C. reported that he mailed the

 three Apple iPhones to “Owen BYFIELD” at 2171 Peachtree Road, Atlanta, GA 30309.

 Similarly, to the Warwick, RI victim, R.B., sent Rolex watches to 2171 Peachtree.

                                       Victim J.D. - Federal Way, WA



 7
  An open source-search revealed that address 10001 Barone Avenue, Apt. 8506, Atlanta, GA 30329 does
 not exist but the address 1000 Barone Avenue Apt. 8506, Atlanta, GA 30329 does exist and is part of the
 Brookhaven Collection, which is described as an upscale apartment community in Atlanta, GA.
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        38.    Records from the UPS Store located at 31811 Pacific Highway South in

 Federal Way, WA revealed that on January 11, 2023, a parcel assigned tracking number

 1ZR093450188344181 was shipped to “Susan Quinn” of 2171 Peachtree Rd, Apt #1702,

 Atlanta GA, 30309. The parcel was described to contain “Documents.” UPS Store

 records revealed that the sender was J.D. of Federal Way, WA 98023.

        39.    An IP Address associated with ROBINSON at 2171 Peachtree queried this

 package four (4) times between January 11, 2023, and January 12, 2023.

        40.    A Federal Way Police Department (FWPD) (WA) police report

 documented on February 18, 2023, a FWPD officer responded to a residence and met

 with J.D. and her daughter, M.D. J.D. reported that that sometime around January 14,

 2023, she was contacted by “International Clearing House”. J.D. reported that a

 representative informed her that she had won $17,500,000.00 and that they would send

 a check to her house. J.D. reported that she was informed that she would have to pay

 taxes on the winnings. J.D. reported that she did receive a check from Publishers

 Clearing House which was dated January 18, 2023, in the amount of $17,500,000.00.

        41.    J.D. was instructed to mail her BECU Credit Union debit card to 2171

 Peachtree. J.D. reported that representative, “Lloyd Henry,” repeatedly called J.D. and

 requested that she contact BECU Credit Union to increase the daily withdrawal limit to

 $6,000.00 per day. J.D. reported that she was instructed to keep the situation a secret

 and to not tell anyone. If the credit union contacted her to inquire about the

 transactions, J.D. was instructed to say she was in Atlanta, GA visiting friends. J.D.

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 reported that all communications were through telephone number (877) 738-5290. The

 Warwick, RI victim, R.B. also reported phone number (877) 738-5290. Investigators

 conducted law enforcement queries of (877) 738-5290 and determined it wasn’t a valid

 number.

       42.    J.D. provided several documents to the officer. Those documents included

 a check that appeared to have been issued by the Federal Reserve Bank of New York

 and displayed a logo for Publishers Clearing House. The check was made payable to

 J.D. in the amount of $17,500,000.00. Please see below image.




       43.    J.D. provided BECU Credit Union statements which showed financial

 activity for her savings and checking account which was in her husband’s (WD) name.

 On December 10, 2022, the beginning balance for her savings account was $143,552.36

 and the beginning balance checking account was $96,258.25. A review of the checking

 account revealed financial activity first occurring in the Atlanta, GA area on January 12,


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 2023, the date the BECU credit card was delivered to 2171 Peachtree.

        44.    On January 14, 2023, the beginning balance for her savings account was

 $199,841.50 and on February 10, 2023, the ending balance for her savings account was

 $56,883.41. On January 14, 2023, the beginning balance for checking account was

 $32,318.95, and on February 10, 2023, the ending balance for the checking account was

 $25,634.76.

        45.    A review of financial activity for JD’s savings and checking accounts

 revealed numerous purchases and ATM withdrawals occurring in the Atlanta, GA area

 at locations including, but not limited to, the following:


    o   Wells Fargo Bank located at 2204 Peachtree Road NW
    o   Bank of America located at 2367 Peachtree Road NE
    o   Bank of America located at 3979 Buford Highway
    o   Capital One Café located at 3393 Peachtree Road NE
    o   Neiman Marcus located at 3393 Peachtree Road NE
    o   Louis Vuitton located at 3393 Peachtree Road NE
    o   Apple Store located at 3393 Peachtree Road NE
    o   Saks Fifth Ave located at 3440 Peachtree Road
    o   Salle Opticians located at 3500 Peachtree Road NE
    o   Versace located at 3500 Peachtree Road NE
    o   Atlanta Luxury Watches located at 3651 Piedmont Road NE
    o   Tower Beer located at 2161 Piedmont Road NE
    o   Ashley Store located at 2535 Piedmont Road NE
    o   Best Buy located in Atlanta, GA

                                 Victim P.C. - Gallatin, TN

        46.    Investigators determined that BYFIELD received a $13,000.00 wire transfer

 into his Bank of America account from P.C. of Gallatin, TN. That wire transfer listed


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 “medical bills” along with that transaction.

        47.    On August 9, 2023, the Gallatin Police Department (TN), responded to a

 residence for a welfare check after being contacted by a financial institution who

 learned that one of their customers was a victim of a scam. The subject of the welfare

 check, 65-year-old P.C., reported that earlier in the year (2023) she received a flier in the

 mail to sign up for Publishers Clearing House. P.C. reported that after several months

 which she believed to be in March or April 2023, she received a telephone call from an

 individual who claimed to work for Publishers Clearing House.

        48.    P.C. reported she was informed that she had won a large sum of money

 and had received a photograph of a check in the amount of $27,000,000.00. P.C. reported

 that she was instructed to keep her “winnings” a secret and was instructed to change

 her telephone number to avoid unwanted attention. P.C. reported that she did change

 her telephone number as instructed, at which point she began receiving requests for

 money for various reasons to include paying taxes on the prize money or various fees

 that were required to be paid prior to receiving her prize money.

        49.    P.C. also reported that she initially sent individuals U.S. Currency through

 the United States Postal Service (USPS). P.C. estimated that she had mailed

 approximately $25,000.00 to $30,000.00. P.C. didn’t provide a list of recipient names or

 addresses whom she sent U.S. Currency to via USPS.

        50.    P.C. was also instructed to purchase prepaid VISA cards and provide the

 card numbers and pin numbers to the individuals over the telephone. P.C. showed

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 records that indicated the VISA cards had been purchased between August 4, 2023, and

 August 9, 2023. A total of eight (8) separate transactions occurred for a total of $3,119.00.

 P.C. reported also having conducted several transactions using a Bitcoin ATM located

 in Hendersonville, TN.

        51.    P.C. provided telephone number (647) 250-6150 associated with “Peter

 BROWN”, who she stated was associated with the scam. P.C. also provided telephone

 number (908) 829-1706 associated with “Lloyd HENRY”, who she stated was also

 associated the scam. P.C. also provided telephone number (647) 491-0331 as also

 associated with the scam.

                               Victim T.H. - Greensboro, NC

        52.    Investigators observed a $60,000 First Horizon cashier’s check that was

 deposited into the Supreme Automotive 1350 account on May 24, 2023. The check was

 dated May 23, 2023, remitted by T.H., and made payable to Supreme Automotive LLC.

 See below image.




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       53.    UPS records showed that T.H. sent a parcel addressed to “Susan Quinn”

 at the 2171 Peachtree Road address on May 23, 2023. The parcel was described to

 contain a “Puzzle” but was more likely the $60,000 check referenced above.

       54.    Investigators reviewed the Supreme Automotive financial activity

 following the deposit of the $60,000.00 cashier’s check from T.H. On June 1, 2023, a cash

 withdrawal in the amount of $21,000.00 was conducted. Additionally, on June 2, 2023, a

 wire transfer in the amount of $34,000.00 was sent from the Supreme Automotive 1350

 account to beneficiary Owen BYFIELD of 2171 Peachtree Road, Atlanta GA.

       55.    On May 5, 2023, members of Greensboro Police Department GPD NC,

 responded to First Horizon Bank for a fraud complaint and met with victim, T.H. and a

 bank employee, P.H., who balances T.H.’s checkbook. P.H. reported that in balancing

 T.H.’s checkbook she learned T.H. had been scammed out of approximately $73,970.00.

       56. T.H. reported that in early April 2023, she received a phone call from

 “Rapunzel ASHFORD” informing her that she won the Mega Millions lottery and all

 she had to do to claim her prize was to send him money for taxes. T.H. reported that

 she provided the subject her address so he could mail her the associated paperwork.

       57. T.H. reported receiving the paperwork and responded to First Horizon Bank

 to verify the documents at which time P.H. informed her it was a scam. T.H. then

 responded to another branch, withdrew $5,000.00 and obtained a cashier’s check. T.H.

 mailed the cashier’s check via FedEx overnight to “Rapunzel ASHFORD” of 8594

 Hanford Drive, Dallas, TX 75243. T.H. reported having been contacted by “Rapunzel

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 ASHFORD” from telephone number (929) 281-4084. An open-source search of that

 telephone number associates it as a telephone number associated with a Publishers

 Clearing House sweepstakes scam.

       58. T.H. reported that over the next month, she sent three (3) $5,000.00 cashier’s

 checks to “Rapunzel ASHFORD”. P.H. reported that in a review of T.H.’s financial

 activity she learned that T.H. withdrew $30,000.00 from a Truist bank account. P.H.

 reported that T.H. also withdrew $9,000.00, purchased six (6) iPhone cell phones valued

 at $10,025.00, and mailed them via FedEx overnight to “James WASHINGTON” at 1704

 Summit Glen NE, Atlanta, GA 30329. T.H. reported that she obtained the Atlanta, GA

 address from a subject who called her from (206) 580-0282 and identified himself as

 “John HOOBER”.

                             Victim P.G. – Bloomington, IN

       59. While reviewing NFCU financial records associated with Robz Trucking 1434

 account, investigators observed a check from P.G. in the amount of $96,000 that was de-

 posited on November 29, 2022. On December 2, 2022, the check was returned, and a $15

 returned check fee charged to the Robz Trucking 1434 account. Ultimately, J.P. Morgan

 Chase issued a stop payment on P.G.’s check. See below image of the check from P.G.




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       60. Investigators later contacted Monroe County Sheriff’s office in Bloomington,

 IN and learned that P.G. was the victim of a phone scam resulting in the loss of approxi-

 mately $300,000.00. P.G. reported that she previously received a telephone call from

 PCH informing her that she won $17,000,000.00. P.G. reported that she was informed

 that $200,000.00 had been deposited into her bank account and that she needed to ob-

 tain two cashier’s checks. P.G. identified the person she was speaking with from PCH

 as “Lloyd HENRY.”

       61. P.G. reported that one cashier check was in the amount of $49,000.00 and the

 second cashier check was in the amount of $155,000.00. P.G. reported that both checks

 were addressed to “Demoy Byfield”. P.G. reported that she was instructed to mail those

 cashier checks to 1000 Barone Avenue, Apartment # 8506, Atlanta, GA 30329.

       62. P.G. reported that she was later contacted via telephone and informed that an

 additional $100,000.00 had been placed into her bank account. P.G. reported that she

 was then asked for a third cashier’s check in the amount of $96,000.00 to which she


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 complied. P.G. explained that in fact, no money had been deposited into her account

 and she lost the funds that were sent. Eventually, P.G. was reimbursed by her bank

 (Chase Bank) for the lost funds. Whether Chase bank suffered any actual loss is still un-

 der investigation.

                                  Potential PCH Victims

                            M.W. and J.W. of Ocean Ridge, FL

       63. Investigators reviewed a check that was deposited on March 21, 2022, into the

  Supreme Automotive 8448 account. That check was issued by M.W. and J.W. of Ocean

  Ridge, FL. On March 24, 2022, the check was returned, and a $15 returned check fee

  charged to Supreme Automotive 8448 account. Ultimately, Bank of America issued a

  stop payment on M.W.’s check. Please see below image of M.W.’s check.




       64.    On March 29, 2022, a check in the amount of $50,000.00 was deposited into

 the Supreme Automotive 4978 account. That check was also issued by M.W. and J.W.

 However, based on the handwriting on the check and comparison with other checks

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 endorsed by DALLAS and deposited in his bank accounts, I believe this check was

 written out by DALLAS. The check was made payable to “Supreme Automotive LLC”.

 The memo line listed “Money Owed Truck Repairs”. On April 1, 2022, the check was

 returned, and a $15 returned check fee charged to Supreme Automotive LLC account.

 Ultimately, Bank of America issued a stop payment on M.W.’s check. Please see below

 image of M.W.’s check.




       65.    According to Ocean Ridge Police Department’s (ORPD) (FL) report, on

 March 11, 2022, M.W. and J.W. reported fraudulent charges on their Bank of America

 checking account as well as their AA Advantage Mastercard. J.W. reported that her

 husband, M.W., suffers from dementia. J.W. reported that she believed her husband fell

 victim to an unknown type of internet fraud. J.W. reported that upon review of their

 Bank of America statements, she observed eighteen (18) unauthorized charges totaling

 approximately $12,300.00. J.W. reported that those transactions appeared to have

 occurred in Atlanta, GA.

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        66.    On March 16, 2022, J.W. reported that she was informed by the United

 States Postal Service (USPS) that her address had been changed from her residence in

 Ocean Ridge, FL to 2004 Peachtree Park Drive NE Atlanta, GA 30309. USPS records

 revealed that the address change was conducted online on March 9, 2022. The USPS

 address change was a temporary change of address for the time period of March 9,

 2022, through May 31, 2022. Records provided by M.W. and J.W. also included a NFCU

 letter pertaining to an application for membership with NFCU. That later was dated

 March 14, 2022.

        67.    M.W. and J.W.’s Bank of America records revealed numerous purchases

 and ATM withdrawals within Atlanta, GA beginning on March 10, 2022. The ATM

 withdrawals occurred at the Executive Park branch location, the same branch that

 BYFIELD conducted transactions within D.G.’s account on March 1, 2023, and March 7,

 2023, which is later described in this affidavit.

                                   R.M. – Saint Louis, MO

        68. UPS records revealed that on March 28, 2023, UPS parcel assigned tracking

 number 1Z0RV1760183075058 was shipped to “Susan Quinn” 2171 Peachtree Rd NE,

 Apt 1702, Atlanta, GA. The parcel was described to contain a “Puzzle.” That parcel was

 shipped from the UPS Store located at 9506 Olive Blvd. in Saint Louis, MO 63132. The

 sender of that parcel was R.M. of Saint Louis, MO. An IP Addresses associated with

 ROBINSON at 2171 Peachtree queried this package.

        69. I believe that R.M. is a PCH victim based the fact that the parcel he shipped to


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 “Susan Quinn” was described to contain a “puzzle.” Victim T.H. also shipped a

 package to “Susan Quinn” at this same address and described the parcel to contain a

 “puzzle.” In addition, Victims R.B. and J.D. were also directed to ship parcels to “Susan

 Quinn” at this same address as part of a PCH scam.

                                   H.J. - Wickenberg, AZ

       70. H.J. is an 89-year-old customer of Wells Fargo. In November 2023, a cashier’s

 check in the amount of $20,000 from H.J. was deposited into the bank account of victim

 T.H. of Greensboro, NC who was described above. Two days later a $20,000 cash

 withdrawal was conducted at a branch location in Greensboro, NC (where T.H. lives).

       71. On November 27, 2023, H.J. remitted a $95,000 wire transfer from H.J.’s Wells

 Fargo account to T.H.'s account with the memorandum "Purchase of property." The

 following day two withdrawals were made from T.H.’s account of $20,000 and $30,000

 totaling $50,000 at two other branch locations in Greensboro, NC. The remaining

 $45,000 was used to purchase a self-remitted cashier's check, which was deposited

 T.H.’s account at BB&T in Wilson, NC. According to the bank records, H.J. first told

 her financial advisor that she needed to liquidate mutual funds for the wire because she

 was loaning funds to her brother to help him expand his business but eventually

 confided that she had had won a $17,000,000 lottery but needed to prepay taxes.

 Because there is evidence that T.H. sent large sums of money to BYFIELD and Supreme




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 Automotive (controlled by DALLAS), I believe that T.H. was used as a money mule8 in

 addition to being a victim of the PCH scam.

                               Additional UPS Parcel Sent to” Susan Quinn”

         72. UPS records identified a UPS parcel with an assigned Tracking Number

 1Z0J9Y8T4120004612 was shipped to “Susan Quinn” at 2171 Peachtree on March 10,

 2023. The UPS account name was Owen BYFIELD.

                                 Bank Accounts Moving Victim Funds

         73. Multiple bank accounts associated with the targets received fraud proceeds

 from victims and then funds were rapidly moved out of the accounts to conceal the

 nature, source, location, ownership, and control of the fraud proceeds. These include:

         74. The Supreme Automotive Truist account 4285 was an account owned

 by DALLAS and appeared to be associated with a legitimate business. After funds from

 victim B.M. were transferred into this account, funds were rapidly withdrawn, and the

 account was closed. Some examples of such transactions include:

         o On September 27, 2022, a $200,000 wire transfer from B.M. was transferred
           into the account.
         o On October 1, 2022, DALLAS initiated an account closure and requested an
           official Truist check in the amount of $190,146.72 and withdrew $10,000 cash.
           The check was processed on October 3, 2022.

         75. The Supreme Automotive NFCU account 8191 is an account owned by

 DALLAS and appears to be associated with a legitimate business. Funds from victim



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  A “money mule” is a term for a person who wittingly or unwittingly receives and forwards fraud proceeds from a
 victim to the fraudsters.
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 B.M. were deposited into this account by DALLAS after he closed the Supreme

 Automotive Truist 4284 account. After victim funds were deposited by DALLAS, they

 were rapidly depleted. Some examples of such transactions include:

       o On October 3, 2022, DALLAS deposited the Truist check in the amount of
         $190,146.72 into the Supreme Automotive 8191 account.
       o From October 11, 2022, to October 12, 2022, DALLAS withdrew $40,000 in
         cash.
       o On October 11, 2022, DALLAS conducted (4) transfers to his checking account
         in the amount of $12,850.
       o On October 11, 2022, DALLAS transferred $100,000 to a checking account.
       o On October 12, 2022, DALLAS withdrew $12,240 by check.
       o On October 14, 2022, DALLAS transferred $11,000 to the Supreme
         Automotive checking account.

       76. The Supreme Automotive account 1350 is an account owned by

 DALLAS and appears to be associated with a legitimate business. Funds from victim

 R.B. and T.H. were wired into this account. After victim funds were received, they were

 rapidly transferred, withdrawn, or otherwise spent. Some examples of such

 transactions include:

           o On January 26, 2023, a $100,000.00 wire transfer from victim R.B. was
             transferred into the account. By January 31, all but $317 was depleted from
             the account.
           o On January 27, 2023, a withdrawal by wire was conducted in the amount
             of $40,000.00. That wire transfer listed the beneficiary as E.D. of New
             Castle, DE. That wire transfer was deposited into E.D.’s Capital One
             account ending 3073. Based on investigation, it appears that E.D. is the
             mother of T.D., who lives with and appears to be the girlfriend of
             BYFIELD.
           o On January 27, 2023, a cash withdrawal was conducted in the amount of
             $20,000.00.
           o On January 30, 2023, two separate bank transfers were made to G.C. in the
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               amount of $1,500 and $5,000 respectively. G.C. later submitted a mortgage
               payment in the amount of $5,268.27 for 3960 Carissa Trace, Cumming,
               GA, a residence which is later discussed in this affidavit.
           o   On January 31, 2023, a cash withdrawal was conducted in the amount of
               $20,000.00.
           o   On May 23, 2023, a $60,000 cashier’s check from T.H. was deposited.
           o   On June 1, 2023, $21,000 in cash was withdrawn.
           o   On June 2,2023, $34,000 wire transfer was sent to BYFIELD.

       77. Multiple checks issued by Supreme Automotive LLC from different statement

 periods were issued to Mezzo Apartments. Mezzo Apartments is the name of luxury

 apartment complexes in Atlanta. Below is an image of one check in the amount of

 $12,240 made out to Mezzo Apartments related to what appears to be 2171 Peachtree,

 Apartment 1702.




       78. The Robz Trucking 1434 account is owned by ROBINSON. I

 believe Robz Trucking is a straw entity and not a real business because its address is her

 luxury apartment which is rented out as an Airbnb and there is no evidence of legiti-

 mate business activity in the bank accounts. Funds from victim B.M. were deposited




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 into this account. After victim funds were received, they were rapidly depleted. Some

 examples include:

       o On February 6, 2023, ROBINSON deposited the $70,000 check from B.M.
       o On February 13, 2023, a $63,000 wire transfer was sent to Bank of America
         7917 account in D.G.’s name.
       o On February 13, 2023, $1,900 was transferred to a NFCU account in
         ROBINSON’s name.
       o Lastly, on February 13, 2023, $4800.97 was transferred to a NFCU account in
         ROBINSON’s name.
       o The Robz Trucking 1434 account was also charged a wire transfer fee of
         $14.00.

       79. BYFIELD is the sole owner of Bank of America 5307account. Funds from

 multiple victims were wired into this account. After victim funds were received, they

 were rapidly depleted. Some examples of such transactions include:

       o On April 18, 2023, P.C. of Gallatin, TN, sent a $13,000.00 wire transfer to
         BYFIELD and listed “medical bills” along with that transaction.
       o On April 18, 2023, BYFIELD conducted a $1,000 ATM withdrawal.
       o On April 19, 2023, BYFIELD conducted a $8,0000 GA TLR cash withdrawal.
       o On April 24, 2023, J.C. of Hampton Bays, NY, sent a $30,000 wire transfer to
         BYFIELD.
       o On April 26, 2023, BYFIELD made a $5,268 payment to PennyMac Loan Ser-
         vices.
       o On April 27, 2023, BYFIELD conducted to Cash App payments to “Gregory”
         for $3,000 and $3,500.
       o On April 28, 2023, BYFIELD withdrew $10,000.
       o On May 4, 2023, J.C. sent a $18,000.00 wire transfer to BYFIELD.
       o On May 5 and 6, 2023 BYFIELD sent Zelle payments totaling $7499 to “Larry
         Contractor.”
       o On May 11, 2023, J.C. sent a $15,000 wire transfer to BYFIELD.
       o From May 12, 2023, to May 26, 2026, BYFIELD conducted online bank
         transfers to Bank of America account 5323 totaling $11,200.
       o On June 2, 2023, Supreme Automotive LLC sent a $34,000.00 wire transfer to
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         BYFIELD and listed “boat purchase” along with that transaction.
       o On June 2, 2023, BYFIELD conducted a transfer of $11,500 to Bank of America
         account 7864.
       o On June 2, 2023, BYFIELD made a $5268.27 payment to PennyMac Loan
         Services.

       80. Like DALLAS, on April 7, 2024, BYFIELD issued the below pictured cashier's

 check in the amount of $5,098.00 that was made payable to “Mezo Apartments” and

 had “1702” listed. This check appears to be related to 2171 Peachtree.




               Laundered Funds Used to Purchase Carrissa Trace Property

       81.    As further detailed below, there is probable cause to believe money

 fraudulently obtained by R.B. and B.M. was used to fund an approximate $171,635.46

 down payment (cash to close) for 3960 Carissa Trace, in Cumming, GA (CARISSA

 RESIDENCE) that was purchased by D.G. on March 9, 2023, for a total price of $890,000.

 This residence is believed to be occupied by BYFIELD and T.D., his girlfriend. BYFIELD

 subsequently identified D.G. as his mother in a recorded phone call with the mortgage

 holder for the CARISSA RESIDENCE, later described in more detail. In a review of


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 D.G.’s immigration file, D.G. lists a son named “Travis Owen Byfield.” However,

 comparison of the photo in the file suggests this person is not the OWEN DEMOY

 BYFIELD discussed in this affidavit. Rather, it is suspected that the OWEN DEMOY

 BYFIELD discussed herein is another child or relative of D.G. In any event, for the

 reasons discussed below, it is believed that D.G. was a mere straw purchaser of the

 CARISSA RESIDENCE on behalf of BYFIELD and his girlfriend, T.D. In addition, D.G.

 provided a United States Passport Card and an Alabama Identification Card at the time

 of closing.

        82. An open-source search of 3960 Carissa Trace, Cumming, GA 30040,

 revealed that the residence is within Fieldstone Preserve Community, and is described

 as a 6,750 sq. ft residence, containing five (5) bedrooms, four and a half (4.5) bathrooms,

 with a three (3) car attached garage.




        83. Investigators reviewed the supporting mortgage documentation provided




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 by D.G. when she applied for the mortgage9 and observed altered documentation. I

 believe fraudulent documentation was provided to the bank in order to represent that

 the source of funds used for down payment and closing costs was legitimate, when in

 fact they were fraud proceeds.

          84.     The Bank of America documentation submitted in support of the

     mortgage application showed that on January 13, 2023, D.G.’s Bank of America 8140

     account had a beginning balance of $196,498.88 and her 7917 account had a beginning

     balance of $1,065.02. On February 9, 2023, D.G.’s 8140 account had an ending balance

     of $204,865.50 and her 7917 account had an ending balance of $2,060.02.




          85. After reviewing the alleged forged documents and comparing it to the




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  The mortgage for the Carissa Trace property was initially held by Atlantic Bay Mortgage Group, was transferred to
 PennyMac Loan Services Inc, and has since been transferred to Atlantic Bay Mortgage Group, LLC c/o LoanCare,
 LLC as of May 20, 2024.
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 statement for the same reporting period provided by Bank of America, the statements

 submitted to obtain the mortgage were altered and not genuine. Font and formatting

 discrepancies issues were observed, and the beginning and ending balances contained

 within the statements submitted by D.G. did not match the records provided by Bank of

 America. Below is an image of the record provided by Bank of America for the same

 account and time period:




       86. D.G. reported that she was employed by Pretty Luxe Picnics located at 3253

 Little Bear Lane, Buford GA- 30519. D.G. listed that her employment date started on

 October 15, 2020. D.G. listed that her gross monthly income is $14,163.23.

       87. Additional supporting mortgage documents provided to secure the

 mortgage included a Department of Treasury – IRS Form W-2 Wage and Tax Statement

 for years 2021 and 2022 and an earnings statement from Pretty Luxe Picnics.
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       88. Additionally, the altered Bank of America statement submitted to secure

 the mortgage showed a deposit from Pretty Luxe Picnics on January 20, 2023, in the

 amount of $4,412.97.




       89. Records obtained from Bank of America for the same statement period

 revealed that D.G. did not receive any deposits from Pretty Luxe Picnics and that the

 statement submitted to acquire the mortgage was altered and not genuine.




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       90. D.G. is the sole owner of Bank of America 7917 and Bank of America 8140

  account. A review of the D.G.’s Bank of America 7917 account statement for February

  15, 2023, through March 15, 2023, revealed that the beginning balance during that time

  frame was $1,060.02 and the ending balance was $570.39. A total of $145,000.37 was

  deposited into that account and a total of $145,425.00 was withdrawn during that time

  frame. Funds from victim R.B. and B.M. were deposited or wired into this account for

  the purpose of purchasing the CARISSA RESIDENCE. After victim funds were

  received, they were rapidly transferred. Some examples of such transactions include:

                             D.G.’s Bank of America 7917 account

          o On February 13, 2023, a wire transfer in the amount of $63,000.00 was
            received from Robz Trucking 1434 account.

          o On February 15, 2023, a wire transfer in the amount of $8,900.00 was sent
            to Marcus A. Rosin, PC, in an account held with Truist Bank. An open-
            source search revealed that Marcus A. Rosin, PC is a bankruptcy and real
            estate attorney located in Cumming, GA.

          o On March 1, 2023, a teller transfer (deposit) transaction occurred in the
            amount of $30,000.00. Bank of America video surveillance photographs
            revealed that this transaction was conducted by BYFIELD who was alone
            at the time of the transaction. Below is an image of BYFIELD walking into
            the Bank of America on March 1, 2023.



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          o On March 6, 2023, a $40,000 wire transfer was received from E.D. Capital
            One 3073 account.

                                  D.G.’s Bank of America 8140 account
          o On March 6, 2023, a $10,000 wire transfer was received from T.D.’s Wells
            Fargo 3604 account.
          o On March 7, 2023, a teller transfer (deposit) in the amount of $45,200.00
            was conducted. Bank of America video surveillance photographs revealed
            that this transaction was conducted by BYFIELD who was alone at the
            time of the transaction. Below is an image of BYFIELD conducting the
            transaction at the teller counter.




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           o On March 7, 2023, D.G. conducted an online internal bank transfer
             between two of her Bank of America accounts in the amount of
             $129,400.00.
           o On March 8, 2023, a wire transfer in the amount of $175,000.00 was sent to
             Marcus A. Rosin, PC, into an account held by Truist Bank.


       91. Law enforcement believes that the funds available on J.D.’s debit card

  were used to purchase furniture and possibly electronics for the CARISSA

  RESIDENCE.

      o On February 8, 2023, a purchase at Ashley Store, a home furniture and décor
        store occurred in the amount of $2,994.64.
      o On February 8, 2023, a purchase at Best Buy occurred in the amount of
        $1,900.00.

       92. Investigators reviewed mortgage records provided by PennyMac Loan

 Services. Although D.G. was listed as the owner of the residence and the holder of the

 mortgage, BYFIELD managed the PennyMac account and made mortgage payments.

 BYFIELD’s cell phone number and email address were associated with the PennyMac

 account. Investigators reviewed audio recordings from PennyMac Loan Services. For

 one call, an individual who identified himself as BYFIELD called to inquire about

 making payments. For two other calls, investigators believe that BYFIELD disguised his

 voice pretending to be D.G. BYFIELD’s cell phone number was associated with at least

 two of the recordings.

       93. From on or about April 26, 2023, to on or about July 5, 2023, BYFIELD

 made three mortgage payments totaling approximately $15,804.81 from an account

 ending in 0052.
                                            42
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      o From on or about September 5, 2023, to on or about May 2, 2024, the last date
        for which records were available, T.D. made nine mortgage payments totaling
        approximately $48,227.01 from accounts ending in 3604 and 7442.
      o On or about August 4, 2023, G.C. submitted a mortgage payment in the amount
        of $5,268.27 from an account ending in 6138.

                                         Conclusion

        94. Based on all the foregoing facts, I submit that there is probable cause to

 believe that DALLAS, BYFIELD, and ROBINSON committed conspiracy to commit mail

 and wire fraud in violation of 18 U.S.C. § 1349 and conspiracy to commit money laun-

 dering in violation of 18 U.S.C. § 1956(h).

        95. I further request that the Court order that all papers in support of this

 application, including the affidavit, be sealed until further order of the Court. These

 documents discuss an ongoing criminal investigation that is neither public nor known

 to all of the targets of the investigation. Accordingly, there is good cause to seal these

 documents because their premature disclosure may seriously jeopardize that investiga-

 tion, including by giving targets an opportunity to destroy or tamper with evidence,

 change patterns of behavior, notify confederates, and flee from prosecution.




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                                                     Respectfully submitted,




                                                     Jodie Donaghy
                                                     Special Agent
                                                     Homeland Security Investigations



 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
 telephone.

                October 22, 2024
    ______________________                    __________________________________
           Date                                     Judge’s signature
         Providence RI
    ______________________                    __________________________________
         City and State                       Lincoln D. Almond, U.S. Magistrate




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